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 8
 9                                UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11
12   SANDRA WEST and HECTOR                 )      Case no. 4:16-cv-03124-YGR
     MEMBRENO, individually and on behalf of)
13   all others similarly situated,         )
                                            )      OBJECTIONS TO REPLY EVIDENCE
14                         Plaintiffs,      )      (LR 7-3(D)(1)) AND MOTION TO STRIKE
                                            )
15                 vs.                      )      Date: December 5, 2017
                                            )      Time: 2:00 p.m.
16                                          )      Courtroom: 1
     CALIFORNIA SERVICE BUREAU, INC., )            Judge: Hon. Yvonne Gonzalez Rogers
17                                          )
                           Defendant.       )
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                                                                       OBJECTIONS TO REPLY EVIDENCE
                                                                   (LR 7-3(D)(1)) AND MOTION TO STRIKE
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 1                  Pursuant to Local Rule LR 7-3(d)(1), California Service Bureau, Inc. (“Defendant” or
 2   “CSB”) hereby objects to, and moves to strike the following:
 3                  (1) the Declaration of Anya Verkhovskaya submitted in support of Plaintiffs’ Reply in
 4                      Support of Class Certification (ECF 56-2);
 5                  (2) Paragraphs 12-16 of the Declaration of Yitz Kopel filed in support of Plaintiffs’
 6                      Reply in Support of Class Certification (“Reply Kopel Declaration”) (ECF 56-1).
 7   1.             BACKGROUND
 8                  Pursuant to this Court’s June 13, 2017 Order (ECF 39), Plaintiffs’ expert reports were
 9   due on July 19, 2017 and rebuttal reports by August 23, 2017. On July 19, 2017, Plaintiffs
10   served the expert report of Jeffrey Hansen. As discussed during the September 11, 2017 Case
11   Management Conference, CSB contended that the Mr. Hansen’s opinion that CSB auto-dialed
12   about 230,000 cell phone numbers was erroneous, and that the true number was zero. After CSB
13   deposed Mr. Hansen, the Plaintiffs voluntarily served a Notice of Withdrawal of his numerical
14   estimates of the class size (which explains why the Daubert motion which defense counsel
15   threatened to file during the September 11, 2017 Case Management Conference was never filed).
16                  Instead of relying on the discredited Jeff Hansen, Plaintiffs’ Motion for Class
17   Certification relied on their lawyer’s declaration (Yitz Kopel) to estimate the class size. Now, in
18   support of their reply, Plaintiffs submit the Verkhovskaya Declaration to estimate class size. Ms.
19   Verkhovskaya claims that that ten percent of names that resulted from reverse look up of cell
20   phone call records did not match the names in CSB’s records. Plaintiffs assert these are class
21   members, and therefore there is numerosity. Plaintiffs double-down on improper and erroneous
22   testimony regarding class size by again filing the untimely declarations of Ms. Verkhovskaya
23   and Mr. Kopel. Both declarations should be excluded.
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 1   2.             PLAINTIFFS’ EXPERT TESTIMONY SUBMITTED FOR THE FIRST TIME IN
 2                  A REPLY SHOULD BE EXCLUDED
 3                  N.D. Cal. Civ. L.R. 7–3(d)(1) provides that “If new evidence has been submitted in the
 4   reply, the opposing party may file within 7 days after the reply is filed, and serve an Objection to
 5   Reply Evidence, which may not exceed 5 pages of text, stating its objections to the new
 6   evidence, which may not include further argument on the motion.”
 7                  In general, a court will not consider evidence submitted for the first time in reply without
 8   giving the opposing party an opportunity to respond. Provenz v. Miller, 102 F.3d 1478, 1483
 9   (9th Cir. 1996). Not only do Plaintiffs introduce new evidence in support of their reply, they do
10   so via the expert Verkhovskaya Declaration. This provides additional grounds for exclusion.
11                  “Failure to comply with the scheduling order exposes a party to ‘any just orders,’ as
12   determined by the [trial] judge, including dismissal, entry of default or contempt of court.” In re
13   Arizona, 528 F.3d 652, 657 (9th Cir. 2009) (citing Fed.R.Civ.P. 16(f), 37(b)(2)). As authorized
14   by Rule 26(a)(2)(C), the scheduling order set the timing and dates for expert disclosures and
15   incorporated what Rule 26(a)(2)(B) requires to be disclosed. Untimely expert disclosure
16   implicates Federal Rule of Civil Procedure 37(c)(1). This Rule provides “[i]f a party fails to
17   provide information or identify a witness as required by Rule 26(a) or (e), the party is not
18   allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a
19   trial, unless the failure was substantially justified or is harmless....” Fed.R.Civ.P. 37(c)(1)
20                  Relying in part on the Ninth Circuit’s decision in Provenz, the Court in In re ConAgra
21   Foods, Inc., 90 F. Supp. 3d 919, 957–58 (C.D. Cal. 2015), struck an expert declaration filed in
22   support of reply in support of class certification. ConAgra is on all fours with this case, and the
23   Verkhovskaya Declaration should be stricken.
24                  The defendant in ConAgra asserted that the reply expert declaration of Dr. Kozup should
25   be stricken in its entirety because, at no time during the pendency of the litigation did plaintiffs
26   designate Dr. Kozup as an expert witness. Id. at 957. In striking the declaration, the Court in
27   ConAgra reiterated the importance of Rule 26 in avoiding surprise expert testimony. Id. at 958
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 1   The court noted it had issued a modified scheduling order that addressed, inter alia, the filing of
 2   an amended motion for class certification and set specific dates by which plaintiffs and defendant
 3   had to make expert witnesses on whom they intended to rely in connection with the amended
 4   motion available for deposition. Id.
 5                  The plaintiffs in ConAgra did not submit the expert’s declaration in support of their
 6   original class certification motion. Id. at 958. Nor did the plaintiffs in ConAgra indicate they
 7   intended to rely on the expert’s testimony in connection with the amended motion. Id. “Given
 8   this history, ConAgra could not reasonably have been expected to intuit that plaintiffs intended
 9   to offer Kozup's testimony in reply to its opposition to the amended motion.” Id.
10                  Because ConAgra had no notice that plaintiffs intended to rely on Dr. Kozup as an expert
11   witness and thus no opportunity to depose him or otherwise test the veracity of his statements
12   and opinions, the Court in Conagra held that “Kozup's expert declaration, filed for the first time
13   with plaintiffs' reply, is untimely.” The Court struck the Kozup declaration and did “not consider
14   it in deciding the amended certification motion.” Id. (citing Provenz, 102 F.3d at 1483).
15                  Similarly, the untimely Verkhovskaya Declaration presents untimely expert testimony.
16   Specifically, she testifies as to her skill in “analyz[ing] call records to identify class members.”
17   Verkhovskaya Decl. ¶ 3. She also attests as to her familiarity with use of reverse lookup and
18   call data analysis. Verkhovskaya Decl. ¶¶ 3-5. She therefore asserts “specialized knowledge
19   using specific facts or data” Fed.R. Evid. 702.
20                  Per Provenz and ConAgra, Ms. Verkhovskaya’s untimely expert report must be excluded.
21   As the court in Northwest Pipeline Corp. v. Ross, No. C05-1605RSL, 2008 WL 1744617, at *8
22   (W.D. Wash. Apr. 11, 2008), explained, “[w]hen a party fails to disclose or supplement its
23   discovery responses in accordance with Rule 26(a) and (e), Rule 37(c) provides the remedy: . . .
24   the party is not allowed to use that information or witness to supply evidence . . . .” The Ninth
25   Circuit “give[s] particularly wide latitude to the district court’s discretion to issue sanctions
26   under Rule 37(c)(1).” Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
27   Cir. 2001). Rule 37(c)(1)’s exclusionary sanction has been characterized by the Ninth Circuit
28   and the advisory committee notes as “automatic” and “self-executing.” Id.

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 1   3.             PLAINTIFFS DID NOT AND CANNOT MEET THEIR BURDEN TO SHOW
 2                  LATE DISCLOSURE WAS SUBSTANTIALLY JUSTIFIED AND HARMLESS
 3                  It is Plaintiffs’ burden to prove the late disclosure was substantially justified and
 4   harmless. Yeti, 259 at 1107. Plaintiffs cannot do so. Plaintiffs withdrew their expert’s
 5   numerical estimates of the class size right before filing their Motion for Class Certification.
 6   Now, the Verkhovskaya Declaration seeks to establish class size. The inadequacy of Plaintiffs’
 7   first expert’s estimates is not substantial justification for an untimely expert disclosure.
 8                  The late disclosure is not harmless. The Ninth Circuit has held that disruption of the
 9   district court's schedule is not harmless. Wong v. Regents of the Univ. of Cal., 410 F.3d 1052,
10   1062 (9th Cir. 2005). The Court’s June 13, 2017 Order (ECF 39) set a deadline of September 29,
11   2017 for expert discovery. The Court’s September 11, 2017 order set Plaintiffs’ class
12   certification deadline for October 6, 2017. CSB cannot address Plaintiffs’ new analysis without
13   modifying the current scheduling order. See Allen v. Similasan Corp., 306 F.R.D. 635, 641 (S.D.
14   Cal. 2015) (excluding untimely supplemental reports filed in support of class certification in part
15   due to short notice).
16                  Any argument that further deposition can alleviate prejudice lacks merit. Nw. Pipeline
17   Corp., 2008 WL 1744617, at *9. Class certification has already been briefed and the hearing set
18   for December 4th. As Plaintiff’s initial expert did not provide notice of the call data analysis that
19   is in the untimely Verkhovskaya Declaration, this shows prejudice. Similasan Corp., 306 F.R.D.
20   at 641 (excluding untimely supplemental reports filed in support of class certification where new
21   theory asserted in the untimely supplemental report). See also In re Wells Fargo Residential
22   Mortg. Lending Discrimination Litig., No. 08-MD-01930 MMC, 2011 WL 227661, at *3 (N.D.
23   Cal. Jan. 24, 2011) (striking untimely expert declaration filed in support of class certification).
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 1   4.             THE EXPERT DISCLOSURE DEADLINE IN THE COURT’S JUNE 13, 2017
 2                  ORDER APPLIES TO CLASS CERTIFICATION
 3                  “Under the Federal Rules, it is inconceivable that a party can rely expert witnesses in a
 4   dispositive motion without affording any opportunity to the other side to conduct discovery on
 5   that expert.” Stoba v. Saveology.com, LLC, No. 13CV2925 BAS (NLS), 2016 WL 3356796, at
 6   *3 (S.D. Cal. June 3, 2016). The parties’ June 9, 2017 stipulation seeking an extension of the
 7   expert report disclosure deadline contemplated that this information is needed for class
 8   certification issues. ECF 37 at 3. See also Moreno v. Autozone, Inc., No. C-05-4432 MJJ(EMC),
 9   2007 WL 2462129, at *1 (N.D. Cal. Aug. 28, 2007) (parties’ stipulation implied that Rule
10   26(a)(2) expert disclosures would apply to class certification).
11   5.             THE REPLY KOPEL DECLARATION SHOULD BE EXCLUDED
12                  The Reply Kopel Declaration misstates the difficulty of analyzing the call data produced
13   in this case. He claims “Anyone with a cursory knowledge of Microsoft Excel can visit the
14   referenced cell numbers and see records of the calls Defendant made.” Reply Kopel Declaration,
15   ¶ 16. This shows the danger of having Plaintiffs’ lawyer attest to information set forth in CSB’s
16   production, rather than an expert. Brandon Amyot, Executive Director of Patient Services for
17   CSB testified that “XND” was a code relating to technical reasons that the call did not go
18   through. Amyot Decl. ¶ 44 (ECF 54). The Reply Kopel Declaration asserts that there are call
19   records showing calls to these numbers, but there is no analysis of whether those same records
20   show if a XND call was blocked on a certain date. There is no way of knowing when an account
21   was changed to XND status.
22                  Plaintiffs cite to Villanueva v. Liberty Acquisitions Servicing, LLC, 319 F.R.D. 307, 314
23   (D. Or. 2017) for the proposition that Kopel’s attorney review is proper. The review of records
24   in Villanueva specialized review of whether or not a certain code (XND) could be matched with
25   a call that did not go through on a certain date. Either Mr. Kopel is providing improper expert
26   opinion that lacks foundation and was never disclosed, or lay opinion that should be excluded
27   under Fed. R. Evid. 701 because it requires specialized knowledge. Mr. Kopel’s improper
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 1   analysis potentially subjects him to deposition. His declaration is wholly improper. See, e.g.,
 2   Rainbow Bus. Sols. v. Merch. Servs., Inc., No. C 10-1993 CW, 2013 WL 6734086, at *14 (N.D.
 3   Cal. Dec. 20, 2013) (noting “Leasing Defendants improperly use attorney declarations to
 4   summarize deposition testimony and make factual and legal argument.”).
 5   6.             CONCLUSION
 6                  For the reasons outlined above, defendant California Service Bureau moves this Court for
 7   an order striking the declaration of Ms. Verkhovskaya, and striking Paragraphs 12-16 of the
 8   Reply Kopel Declaration, and barring any further use of that evidence in this action.
 9
                                                        CARLSON & MESSER LLP
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11   Dated: November 17, 2017                           s/ Charles R. Messer___________
                                                        Charles R. Messer
12                                                      David J. Kaminski
13                                                      Stephen A. Watkins
                                                        Attorneys for Defendant,
14                                                      CALIFORNIA SERVICE BUREAU, INC.
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